 1   Ronald E. Johnson, Jr. (KY Bar 88302)
     Hendy Johnson Vaughn Emery
 2   600 West Main Street, Suite 100
 3   Louisville, KY 40202
     Tel. (859) 578-4444
 4   Email: rjohnson@justicestartshere.com

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 8                                      UNITED STATES DISTRICT COURT
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                                     NORTHERN DISTRICT OF CALIFORNIA
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                                              SAN FRANCISCO DIVISION
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     IN RE: SOCIAL MEDIA ADOLESCENT                           Case No. 4:22-md-03047-YGR
12   ADDICTION/PERSONAL INJURY
     PRODUCTS LIABILITY LITIGATION                            MDL No. 3047
13
14
                                                              MOTION OF RONALD E. JOHNSON, JR.,
15   THIS DOCUMENT RELATES TO:                                FOR APPOINTMENT TO PLAINTIFFS’
                                                              LEADERSHIP
16   ALL ACTIONS
17                                                            Judge: Hon. Yvonne Gonzalez Rogers
                                                              Date: December 12, 2023
18                                                            Time: 2:00 p.m.
                                                              Crtrm: 1, 4th Floor
19
20                                      NOTICE OF MOTION AND MOTION
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     PLEASE TAKE NOTICE THAT, on December 12, 2023, at 2:00 P.M., before the Honorable Yvonne
22
     Gonzalez Rogers, in Courtroom 1, Floor 4, of the United States District Court, Northern District of
23
     California, located at 1301 Clay Street in Oakland, California, Ronald E. Johnson, Jr., of Hendy
24
25   Johnson Vaughn Emery, PSC, will and hereby does move this Court for an order appointing Mr.

26   Johnson to a leadership position as Lead, Co-Lead, or Member of the Plaintiffs’ Steering Committee

27   representing the interests of the school districts (collectively, “Leadership Position”). This Motion is
28
     based on the Memorandum of Points and Authorities and exhibit submitted herewith, any Reply
30    Motion of Ronald E. Johnson, Jr. for                1                      CASE NO. 4:22-MD-03047-YGR
      Appointment to Plaintiffs’ Leadership
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 1   Memorandum or other papers submitted in connection with the Motion, any matter of which this Court
 2   may properly take judicial notice, and any information presented at argument.
 3
                               MEMORANDUM OF POINTS AND AUTHORITIES
 4
             Mr. Johnson respectfully submits his application to a Leadership Position. As highlighted in
 5
     the attached letter from Mr. Johnson (Exhibit A), Mr. Johnson is qualified, experienced, and available
 6
 7   to bring Hendy Johnson Vaughn Emery’s unique resources and insights to this litigation. His presence

 8   on the Committee would ensure the interests of school districts in this litigation are advanced. For the

 9   reasons set forth in Exhibit A, Mr. Johnson respectfully requests the Court issue an order appointing
10
     him to a Leadership Position.
11
             DATED this 13th day of November 2023.
12
                                       HENDY JOHNSON VAUGHN EMERY, PSC
13
                                       /s/ Ronald E. Johnson, Jr.
14
                                       Ronald E. Johnson, Jr. (KY Bar 88302)
15                                     Hendy Johnson Vaughn Emery
                                       600 West Main Street, Suite 100
16                                     Louisville, KY 40202
                                       Tel. (859) 578-4444
17                                     Fax (859) 578-4440
                                       rjohnson@justicestartshere.com
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19                                     Counsel for Bell County School District, Boone County School District,
                                       Bracken County School District, Breathitt County School District, Bullitt
20                                     County School District, Clark County School District, Covington
                                       Independent Public Schools, Daviess County School District, Estill
21                                     County School District, Fayette County School District, Fort Thomas
22                                     Independent School District, Fort Wayne Community Schools, Franklin
                                       County School District, Harrison County School District, Hopkins County
23                                     School District, Jefferson County School District, Jessamine County
                                       School District, Johnson County School District, LaRue County School
24                                     District, Lawrence County School District, Lawrenceburg Community
                                       School Corporation, Madison County School District, Martin County
25                                     School District, McLean County School District, Menifee County School
26                                     District, Montgomery County School District, Owensboro Independent
                                       School District, Robertson County School District, Rockcastle County
27                                     School District, Scott County School District, Walton-Verona
                                       Independent School District, Wolfe County School District
28
30    Motion of Ronald E. Johnson, Jr. for                  2                     CASE NO. 4:22-MD-03047-YGR
      Appointment to Plaintiffs’ Leadership
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                                              CERTIFICATE OF SERVICE
 2
 3            I hereby certify that on November 13, 2023, I electronically filed the foregoing document with

 4   the Clerk of the Court using the CM/ECF system, which will automatically send notification of the filing

 5   to all counsel of record.
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                                                    /s/ Ronald E. Johnson, Jr.
 8                                                  Ronald E. Johnson, Jr. (KY Bar 88302)

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10   4847-1683-1163, v. 3

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30    Motion of Ronald E. Johnson, Jr. for               3                     CASE NO. 4:22-MD-03047-YGR
      Appointment to Plaintiffs’ Leadership
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